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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF RHODE ISLAND


  U.S. BANK TRUST NATIONAL
  ASSOCIATION, AS TRUSTEE OF
  IGLOO SERIES V TRUST
        Plaintiff,
  v.                                              Civil Action No. 1:23-cv-00253-JJM-LDA

  UNKNOWN HEIRS, BENEFICIARIES,
  DEVISEES, AND ALL OTHER PARTIES
  CLAIMING AN INTEREST BY,
  THROUGH, OR UNDER THE ESTATE
  OF MAXIMIN C. COTE, et al.
        Defendant(s)




                                   AMENDED COMPLAINT

                                      Jurisdiction and Venue

 1.        This Court has original jurisdiction over this matter pursuant to 28 U.S.C. §

 1332(a)(1) since there is complete diversity between Plaintiff and all Defendants and the

 amount in controversy exceeds $75,000.00.


 2.        Venue is proper under 28 U.S.C. § 1391(b)(2) since the real property that is

 subject to this complaint is located in the State of Rhode Island.

 3.        Plaintiff seeks to foreclose a mortgage to Plaintiff pursuant to R.I.G.L. § 34-27-1,

 et seq.
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                                             Parties

 4.     Plaintiff U.S. Bank Trust National Association, as Trustee of Igloo Series V Trust

 has a usual place of business at 7114 E Stetson Drive, Scottsdale, AZ 85251 (the

 “Plaintiff”).

 5.     Defendants, UNKNOWN HEIRS, BENEFICIARIES, DEVISEES, AND ALL

 OTHER PARTIES CLAIMING AN INTEREST BY, THROUGH, OR UNDER THE

 ESTATE OF MAXIMIN C. COTE ("Heirs"), may have an interest herein as the heirs to

 the title of the property subject to this action.

 6.     Defendant, TRISHA LEE COTE, may claim an interest herein as an heir to the

 Estate if Maximin C. Cote, and upon information and belief, is a Citizen of the United

 States of America, domiciled at 3228 N. Main Street, Fall River, MA 02721.

 7.     Defendant, ROXANNE RENEE COTE, may claim an interest herein as an heir to

 the Estate if Maximin C. Cote, and upon information and belief, is a Citizen of the

 United States of America, domiciled at 315 Clement Street, Apt. 3, Tiverton, RI 02878.

 8.     Defendant, JAMES GERARD COTE, may claim an interest herein as an heir to

 the Estate if Maximin C. Cote, and upon information and belief, is a Citizen of the

 United States of America, domiciled at 132 Campion Avenue, Tiverton, RI 02878.

 9.     Defendant, JENNIFER GERARD COTE, may claim an interest herein as an heir

 to the Estate if Maximin C. Cote, and upon information and belief, is a Citizen of the

 United States of America, domiciled at 301 Bulgarmarsh Rd, Tiverton RI 02878.

 10.    Defendant, Wells Fargo Bank successor by merger to Wells Fargo Bank

 Minnesota, N.A., as indenture Trustee for MSCC Heloc Trust 2007-1 is a national
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 banking association with a principal place of business located at 9062 Old Annapolis

 Road, Columbia, MD 21045.

 11.    Defendants, Trisha Lee Cote, Roxanne Renee Cote, James Gerard Cote and

 Jennifer Lynn Ferreira are collectively referred to as to as the "Identified Heir"

 Defendants.

 12.    Defendant, State of Rhode Island Division of Taxation, has a principal place of

 business at One Capitol Hill, Providence, RI 02908.



                                            Facts

 13.    Maximin C. Cote and Cheryl A. Cote executed and delivered a Quitclaim deed

 for the Property to Maximin C. Cote as sole tenant, which deed was recorded on

 February 4, 2003, in Land Evidence Records for the Town of Tiverton at Book 770 at

 Page 253. See Exhibit A.

 14.    There is an unbroken chain of title of not less than 40 years, which creates

 marketable record title in Defendant pursuant to R.I.G.L. § 34-13.1-2. See Exhibit B.

 15.    Maximin C. Cote (deceased) executed and delivered a note dated February 7,

 2004, to Ameriquest Mortgage Company in the original principal amount of $175,000.00

 (the “Note”). See Exhibit C.

 16.    The note was endorsed in blank.

 17.    Maximin C. Cote became deceased on July 19, 2022. A true and accurate copy of

 the Death Certificate is attached hereto as Exhibit D.

 18.    The Plaintiff is the current holder of the Note.
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 19.    SN Servicing Corporation is the servicer of the loan.

 20.    As security for the Note, Maximin C. Cote executed, granted, and delivered a

 mortgage in the amount of $175,000.00 to Ameriquest Mortgage Company dated

 February 7, 2004, and recorded in the Land Evidence Records for the Town of Tiverton

 at Book 887 at Page 279 (the “Mortgage”). See Exhibit E.

 21.    The Mortgage was assigned from Ameriquest Mortgage Company to Mortgage

 Electronic Registration Systems, Inc, dated February 17, 2004 and recorded May 24, 2005

 in Book 992 at Page 129.

 22.    The Mortgage was then assigned by Mortgage Electronic Registration Systems,

 Inc to Nationstar Mortgage, LLC, dated November 19, 2012 and recorded December 12,

 2012 in Book 1429 at Page 282.

 23.    The Mortgage was then assigned by Nationstar Mortgage, LLC to Federal

 National Mortgage Association, dated January 23, 2015 and recorded February 3, 2015

 in Book 1525 at Page 249.

 24.    The Mortgage was then assigned by Federal National Mortgage Association to

 U.S. Bank Trust National Association, not in its individual capacity but solely as Trustee

 of Citigroup Mortgage Loan Trust 2019-C, on October 25, 2019 and recorded on

 November 4, 2019 in Book 1747 at Page 318

 25.    The Mortgage was then finally assigned by U.S. Bank Trust National Association,

 not in its individual capacity but solely as Trustee of Citigroup Mortgage Loan Trust

 2019-C to U.S. Bank Trust National Association, as Trustee of Igloo Series V Trust, the

 Plaintiff in the instant matter.
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 26.    Copies of the assignments of mortgage are attached hereto as Exhibit F.

 27.    The State of Rhode Island Division of Taxation is named as Defendant if and to

 the extent the entity claims a lien arising by operation of law or otherwise by virtue of

 the deaths of Linda F. Hyman and/or Robert I. Hyman. This action does not seek to

 disturb the priority of any such lien(s) as established by applicable law.

 28.    The Mortgage is secured by the Property located in the Town of Tiverton, more

 particularly described as follows:




 29.    The Plaintiff is the present holder of the Note and Mortgage.
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 30.   No person other than the parties hereto appears of record in Land Evidence

 Records for the Town of Tiverton to have any interest in the Property.



                                         COUNT I

 31.   Plaintiff realleges and reaffirms the allegations set forth in paragraphs 1-30 as if

 restated herein.

 32.   Maximin C. Cote is in default in the performance of the terms and conditions of

 the Note by reason of failure to timely tender principal and interest payments as

 required by the terms of the Note.

 33.   As of January 20, 2022, the sum of $4,033.11 was necessary to cure the default.

 34.   As a result of the default, Plaintiff is entitled to foreclose the sums due and

 owing in connection with the Note.

 35.   As of September 30, 2022, the sum of $164,902.14 was due and owing to Plaintiff

 from Defendant in connection with the Note.

 36.   Defendant has no defenses or right of set off with respect to the amounts due in

 connection with the Note, with the exception of any deficiency balance due and owning

 in connection with the Note which may have been discharged in bankruptcy.

 37.   On or about December 16, 2021, Plaintiff, via its authorized servicer of the

 Mortgage, sent a notice of default and demand in accordance with the notice and

 default provisions of the Mortgage.

 38.   On or about September 30, 2022, Plaintiff or its predecessor in interest, or

 authorized servicer of the Mortgage, or anyone holding under the Mortgage, by its
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 attorneys, sent a notice of acceleration of the debt pursuant to the notice and default

 provisions of the Mortgage.



                                          COUNT II

 39.    Plaintiff realleges and reaffirms the allegations set forth in paragraphs 1-38 as if

 restated herein.

 40.    The Defendant Heirs and identified Heirs, are the present owners of the

 Property, are the owners of the equity of redemption of the Property.

 41.    Maximin C. Cote is in default in the performance of the terms and conditions of

 the Mortgage, namely, default in the payment of principal and interest of the Note

 secured by the Mortgage.

 42.    Plaintiff is entitled to foreclose the Mortgage, in full or partial satisfaction of the

 Defendants’ obligations in connection with the Note and Mortgage pursuant to their

 terms and applicable law.

 43.    Plaintiff is entitled to foreclose the Mortgage by entry and possession and by

 exercise of the power of sale contained therein, in accordance with R.I.G.L. § 34-27-1, et

 seq.

 44.    Upon information and belief and upon examination of the public records, there

 are no other parties with an equitable interest in the Property.

 45.    Upon information and belief and upon examination of the public records, there

 are no other parties with a mortgage, lien, or encumbrance with respect to the Property.
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 46.      Upon information and belief, there are no persons having any interest of

 ownership who are in the Military Service of the United States of America or otherwise

 entitled to the relief and benefits provided by the Act of Congress known as the

 Soldiers’ and Sailors’ Civil Relief Act of 1940, as amended. See Exhibit G.



       WHEREFORE, Plaintiff prays that the following relief enter:

       1. That an order of notice issue on this Complaint, if the Court deems appropriate;

       2. Declare that the Mortgage recorded in the Land Evidence Records for the Town

          of Tiverton, Rhode Island is a valid lien on the Property;

       3. Declare that Maximin C. Cote (deceased), is in default of the terms and

          conditions of the Note and Mortgage;

       4. Enter an interlocutory decree authorizing the Plaintiff to foreclose the Mortgage

          recorded in the Land Evidence Records for the Town of Tiverton on February 17,

          2004, in book 887 at page 279;

       5. Enter judgment in favor of Plaintiff for the sums due and owing from Defendants

          in connection with the Note and Mortgage with the exception of any deficiency

          balance due and owning in connection with the Note which may have been

          discharged in bankruptcy;

       6. Enter an Order authorizing Plaintiff to satisfy its Judgment from the foreclosure

          pursuant to the terms of the Mortgage;
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    7. The Court approve the acts of the Plaintiff done and performed under the

       authority of any interlocutory decree authorizing a foreclosure sale and enter a

       final decree confirming the foreclosure sale; and

    8. Such other and further relief as this Honorable Court deems meet and just.
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